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Attachment A

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)

UNITED STATES OF AMERICA, )
) Criminal No. 1:22-cr-00200-APM

v. )

)

PETER K. NAVARRO, )

)

Defendant. )

)

DECLARATION OF ELIZABETH HARRINGTON

I, Elizabeth Harrington, as authorized by 28 U.S.C. §1746, hereby declare and state as
follows:

1, I am currently employed as a spokesperson for the Donald J. Trump for President
2024 campaign and have held that position since November 15, 2022. Prior to that, beginning in
mid-June 2021, I worked as a spokesperson for the Save America Political Action Committee.

2. I met Peter Navarro in 2021 while he was serving as a senior advisor to President
Trump, and | interacted with him in my position with Save America Political Action Committee.

3. Counsel for Dr. Navarro contacted me about potentially testifying as a witness on his
behalf and they served me with a subpoena to testify at the trial, which I know is scheduled to
begin on September 5, 2023. Subsequently, counsel for Dr. Navarro served me with a subpoena
to testify at the evidentiary hearing which the Court has scheduled for August 28, 2023.

4. Counsel for Dr. Navarro has told me that in both instances — the evidentiary hearing

on August 28, 2023, and the trial on September 5, 2023 — they believe that I am in possession of
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significant information about Dr. Navarro’s assertion of executive privilege on behalf of

President Trump.

5. On July 26, 2023, in a conversation with Dr. Navarro’s counsel about my testimony
for the evidentiary hearing and trial, I advised them that my due date for the birth of my second
child is August 29, 2023. I would like to cooperate with counsel and the Court but, as a result of
the pending birth of my child, I am unable to predict whether my medical condition and/or
responsibilities to my baby will allow me to appear at the evidentiary hearing and trial as
currently scheduled.

I hereby declare under penalty of perjury that the foregoing is true and correct.

Executed on this 7th day of August, 2023

[LF

E)izAbeth Harrington

